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                     Exhibit G
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

               Plaintiff,

          v.                                      Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC., et al.

               Defendants.



DEFENDANT U.S. ANESTHESIA PARTNERS, INC.’S AMENDED ANSWER TO THE
   FTC’S COMPLAINT FOR INJUNCTIVE AND OTHER EQUITABLE RELIEF
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       Defendant U.S. Anesthesia Partners, Inc. (“USAP”) hereby answers Plaintiff Federal

Trade Commission’s (“Plaintiff ” or “FTC”) Complaint for Injunctive and Other Equitable Relief

dated September 21, 2023 (the “Complaint”) as set forth below and subject to its right to amend

pursuant to Federal Rule of Civil Procedure 15(a)(2).

       Each Paragraph below corresponds to the same-numbered Paragraph in the Complaint.

All allegations not expressly admitted are denied. USAP does not interpret the headings or

preamble in the Complaint as well-pleaded allegations to which any response is required. To the

extent that a response is required to the headings or preamble, USAP denies all such allegations

in the headings and preamble. Unless otherwise defined, capitalized terms refer to the

capitalized terms defined in the Complaint, but any such use is not an acknowledgment or

admission of any characterization the FTC may ascribe to the terms.

       USAP is filing this Answer now out of an abundance of caution. As USAP noted in its

Motion for Stay Pending Interlocutory Appeal, Dkt. No. 155, this action was automatically

stayed when USAP filed its Notice of Appeal, Dkt. No. 153. See Coinbase v. Bielski, 599 U.S.

736, 742 (2023). Notwithstanding the fact that its stay motion is pending and without waiving

any argument that the case remains stayed, USAP submits this Answer according to the latest

schedule ordered by the Court.

                                   NATURE OF THE CASE

       1.      The allegations in Paragraph 1 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth legal conclusions to which

no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. Further, Paragraph 1’s allegations regarding

Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To


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the extent that a further response is required, USAP contends that the Complaint speaks for itself,

and otherwise denies Paragraph 1.

       2.      The allegations in Paragraph 2 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent they characterize Welsh Carson’s state of

mind, USAP lacks sufficient information to admit or deny them. Further, Paragraph 2’s

allegations regarding Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s

claims against it. To the extent that a further response is required, USAP admits that Welsh

Carson is a private equity firm based in New York, and otherwise denies Paragraph 2.

       3.      The allegations in Paragraph 3 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. Further, Paragraph 3’s allegations regarding

Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To

the extent that a further response is required, USAP admits that Welsh Carson created USAP in

2012 and that evidence produced in the FTC’s investigation of this matter includes the quoted

language, respectfully directs the Court to that evidence for an accurate and complete statement

of its contents, and otherwise denies Paragraph 3.

       4.      The allegations in Paragraph 4 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. Further, Paragraph 4’s allegations regarding Welsh Carson are




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irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To the extent that a

further response is required, USAP admits that evidence produced in the FTC’s investigation of

this matter includes the quoted language, respectfully directs the Court to that evidence for an

accurate and complete statement of its contents, and otherwise denies Paragraph 4.

       5.      The allegations in Paragraph 5 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. Further, Paragraph 5’s allegations regarding

Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To

the extent that a further response is required, USAP respectfully directs the Court to that

evidence for an accurate and complete statement of its contents. USAP otherwise denies

Paragraph 5.

       6.      The allegations in Paragraph 6 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. Further, Paragraph 6’s allegations regarding

Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To

the extent that a further response is required, USAP admits that evidence produced in the FTC’s

investigation of this matter includes the quoted language and respectfully directs the Court to that

evidence for an accurate and complete statement of its contents. USAP further admits that it has




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entered into specific billing agreements with other groups of anesthesiologists practicing in

Houston and Dallas and otherwise denies Paragraph 6.

       7.      The allegations in Paragraph 7 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. Further, Paragraph 7’s allegations regarding

Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To

the extent that a further response is required, USAP admits that it entered into an agreement with

Envision Healthcare, contends that that agreement speaks for itself, and denies Paragraph 7 to the

extent that it mischaracterizes that agreement. USAP otherwise denies Paragraph 7.

       8.      The allegations in Paragraph 8 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. Further, Paragraph 8’s allegations regarding

Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To

the extent that a further response is required, USAP denies Paragraph 8, including to the extent

that it is predicated on an undefined methodology for calculating and comparing reimbursement

rates that USAP lacks sufficient information to admit or deny.

       9.      The allegations in Paragraph 9 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which




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no response is required. To the extent they characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. To the extent that a further response is

required, USAP denies Paragraph 9.

        10.     The allegations in Paragraph 10 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Those allegations also set forth a legal conclusion to which

no response is required. To the extent that a further response is required, USAP contends that

the Complaint speaks for itself, and otherwise denies Paragraph 10.

I.      JURISDICTION AND VENUE

        11.     Paragraph 11 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, for purposes of the current action, USAP does not

contest that the Court has subject matter jurisdiction over this action.

        12.     Paragraph 12 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP does not contest that the Court has personal

jurisdiction over it in this case.

        13.     Paragraph 13 sets forth a legal conclusion to which no response is required.

Further, Paragraph 13 is irrelevant in light of the Court’s dismissal of the FTC’s claims against

Welsh Carson. To the extent that a further response is required, USAP does not contest that the

Court had personal jurisdiction over Welsh Carson in this case.

        14.     Paragraph 14 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP does not contest that it transacts business in

this district or that venue in this district is proper.

        15.     Paragraph 15 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 15.


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       16.     Paragraph 16 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP does not contest that at all relevant times,

U.S. Anesthesia Partners, Inc. has been a “corporation” within the definition set forth in Section

4 of the FTC Act, but lacks sufficient information to admit or deny the particular structure of the

identified Welsh Carson entities, and therefore denies Paragraph 16 to that extent.

       17.     Paragraph 17 sets forth a legal conclusion to which no response is required.

Further, Paragraph 17 is irrelevant in light of the Court’s dismissal of the FTC’s claims against

Welsh Carson. Further, USAP lacks sufficient information to admit or deny the particular

structure of the identified entities, and therefore denies Paragraph 17.

II.    THE PARTIES

       A.      Plaintiff Federal Trade Commission

       18.     Paragraph 18 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP admits Paragraph 18, subject to its

affirmative defenses that the FTC both lacks statutory authority to pursue this action and purports

to exercise executive authority in violation of Article II of the United States Constitution.

       19.     Paragraph 19 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 19.

       B.      Defendant U.S. Anesthesia Partners

       20.     USAP admits Paragraph 20.

       21.     Paragraph 21 is vague because there are multiple corporate entities to which

“USAP” might refer, and those entities do not all provide the services set forth in this Paragraph.

USAP therefore denies Paragraph 21.




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       22.      Paragraph 22 is vague because there are multiple corporate entities to which

“USAP” might refer, and because it does not identify the means by which the “profit” figure

reported has been estimated. USAP therefore denies Paragraph 22.

       C.      Defendant Welsh Carson

       23.     Paragraph 23’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP admits the first sentence of Paragraph 23, except with its vague characterization

of Welsh Carson’s “primar[y]” business, which USAP lacks sufficient information to admit or

deny. USAP also admits that Welsh Carson invested in USAP at its founding with an investment

of approximately $the stated amount. USAP lacks sufficient information to admit or deny the

amount of funds raised or investments by Welsh Carson outside of USAP, and therefore

otherwise denies Paragraph 23.

       24.     Paragraph 24’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. Further Paragraph 24’s allegations are vague,

conclusory, and argumentative, and USAP lacks sufficient information to admit or deny Welsh

Carson’s particular organization. USAP therefore denies Paragraph 24 except to the extent that

it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       25.     Paragraph 25’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP admits the first sentence of Paragraph 25, but USAP lacks sufficient information

to admit or deny the particular organization of the identified entity, and therefore otherwise

denies Paragraph 25.

       26.     Paragraph 26’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is


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required, USAP admits the first sentence of Paragraph 26. USAP also admits that Welsh,

Carson, Anderson & Stowe XII, L.P. has held stock in USAP since 2017. USAP lacks sufficient

information to admit or deny the Welsh Carson funds particular profit model, and therefore

otherwise denies Paragraph 26.

       27.     Paragraph 27’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP admits the first sentence of Paragraph 27, but USAP lacks sufficient information

to admit or deny the particular organization of the identified entities, and therefore otherwise

denies Paragraph 27.

       28.     USAP admits Paragraph 28.

       29.     Paragraph 29’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP admits the first sentence of Paragraph 29, but USAP lacks sufficient information

to admit or deny the particular organization of the identified entities, and therefore otherwise

denies Paragraph 29.

       30.     Paragraph 30’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP admits the first sentence of Paragraph 30, but USAP lacks sufficient information

to admit or deny the particular organization of the identified entities, and therefore otherwise

denies Paragraph 30.

       31.     The allegations in Paragraph 31 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent they characterize Welsh Carson’s state of




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mind, USAP lacks sufficient information to admit or deny them. Further, Paragraph 31’s

allegations regarding Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s

claims against it. To the extent that a further response is required, USAP admits that WCAS

Management, LLC is a for-profit Delaware corporation founded in 2017, and otherwise denies

Paragraph 31.

       32.      The first sentence of Paragraph 32 sets forth a legal conclusion to which no

response is required. Further, Paragraph 32’s allegations regarding Welsh Carson are irrelevant

in light of the Court’s dismissal of the FTC’s claims against it. To the extent that a further

response is required, USAP lacks sufficient information to admit or deny Paragraph 32’s

allegations regarding the Welsh Carson Defendants’ corporate commonalities, and therefore

denies Paragraph 32.

       33.      The allegations in Paragraph 33 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. USAP lacks sufficient information to admit or deny Welsh

Carson’s state of mind. Further, Paragraph 33’s allegations regarding Welsh Carson are

irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To the extent that a

further response is required, USAP lacks sufficient knowledge to admit or deny Welsh Carson’s

control of portfolio companies, and therefore denies Paragraph 33.

       34.      USAP admits the first clause of Paragraph 34, but denies the second clause of

Paragraph 34 because it lacks sufficient information to admit or deny an allegation regarding

Welsh Carson’s state of mind. To the extent that any further response is required, USAP denies

Paragraph 34’s characterization of the purpose for which USAP was formed.




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       35.     The allegations in Paragraph 35 are vague and conclusory, and USAP therefore

denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer. To the extent that a further response is required, USAP denies Welsh

Carson’s active direction in its corporate strategy and decision-making through the present, and

otherwise admits Paragraph 35.

       36.     To the extent the allegations characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to confirm or deny them. USAP admits that evidence produced in

the FTC’s investigation of this matter includes the quoted language and contends this evidence

speaks for itself. USAP also admits that Welsh Carson has the right to appoint two seats on

USAP’s board of directors, that Welsh Carson had the right to appoint the majority of the board

from 2012 and 2017, and that Welsh Carson currently has two directors on the board. The

allegation that USAP’s current board Chairman “is affiliated with” Welsh Carson in an

unidentified manner is vague and conclusory, and USAP therefore denies it, and USAP

otherwise denies the remaining allegations in Paragraph 36.

       37.     Paragraph 37 in part sets forth legal conclusions to which no response is required.

Further, Paragraph 37’s allegations regarding Welsh Carson are irrelevant in light of the Court’s

dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

admits Brian Regan served on USAP’s board from 2012 until 2022, but otherwise lacks

sufficient information to admit or deny the allegations in Paragraph 37.

       38.     Paragraph 38’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP lacks sufficient information to admit or deny the allegations to the extent they

characterize Welsh Carson’s state of mind. USAP admits that its CEO at the time the Complaint




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was filed was previously affiliated with Welsh Carson but otherwise denies the allegations in

Paragraph 38.

       39.      The allegations in Paragraph 39 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Further, Paragraph 39’s allegations regarding Welsh

Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. To the

extent that a further response is required, USAP admits that it has entered into management

agreements with Welsh Carson, and otherwise denies Paragraph 39.

       40.      Paragraph 40 sets forth a legal conclusion to which no response is required.

Further, Paragraph 40’s allegations regarding Welsh Carson are irrelevant in light of the Court’s

dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

denies Paragraph 40.

III.   BACKGROUND

       A.       Anesthesia is administered to patients by doctors and nurses to prevent pain

       41.      Paragraph 41 is an oversimplified and incomplete description of the complex care

anesthesiologists, certified registered nurse anesthetists (“CRNAs”), and certified

anesthesiologist assistants (“CAAs”) provide to patients before, during, and after surgery and

other procedures. USAP admits that pain management is one of many aspects of anesthesia care

and that general and local anesthesia are different methods of managing pain, but otherwise

denies the allegations in Paragraph 41 as stated.

       42.      Paragraph 42 is an oversimplified and incomplete description of the complex care

anesthesiologists, CRNAs, and CAAs provide to patients before, during, and after surgical and

other procedures, and USAP denies the allegations in Paragraph 42 as stated.

       43.      USAP admits Paragraph 43.


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       44.     USAP admits Paragraph 44.

       45.     USAP admits Paragraph 45.

       46.     Paragraph 46 is an oversimplified and incomplete description of the complex care

anesthesiologists, CRNAs, and CAAs provide to patients before, during, and after surgical and

other procedures, and USAP denies the allegations in Paragraph 46 as stated.

       B.      Anesthesia services are performed in hospitals or outpatient facilities

       47.     USAP admits that anesthesiologists, CRNAs, and CAAs provide care to patients

in several healthcare facility settings, including those listed in Paragraph 47, but to the extent that

Paragraph 47’s generalizations are intended to characterize each and every anesthesia provider,

those allegations are vague, and USAP therefore otherwise denies them except to the extent that

it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       48.     USAP denies that hospitals alone perform surgery and denies Paragraph 48

insofar as it suggests that only inpatient procedures are performed in hospitals. USAP further

denies the first sentence because the term “outpatient surgery centers” is vague and undefined.

USAP admits that inpatient procedures typically require an overnight stay and admits the

allegations in the second and third sentences of Paragraph 48.

       49.     USAP denies the first sentence of Paragraph 49 that outpatient surgery centers

and ambulatory surgical centers perform surgery and denies that surgeries are the “only”

procedures provided there. USAP admits the second sentence and the first clause of the third

sentence, but denies the second clause of Paragraph 49 except insofar as “dedicated clinics” may

refer to ambulatory surgery centers. USAP denies the fourth and fifth sentences of Paragraph 49.

       50.     USAP admits that local anesthesia generally can be administered in outpatient

care centers and doctors’ offices, and that many procedures involving the administration of local

anesthesia do not require the facilities and staff of a hospital. To the extent that Paragraph 50’s


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generalizations are intended to characterize the facilities and staffing needs of each and every

outpatient care centers or doctor’s offices, those generalizations are vague, and USAP therefore

denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer.

       51.     USAP admits that general anesthesia is typically performed only in hospitals or

ambulatory surgery centers. USAP denies Paragraph 51 insofar as “some regional anesthesia” is

vague. USAP otherwise denies Paragraph 51.

       C.      Hospitals contract with anesthesia providers to serve their facilities

       52.     USAP admits that many hospitals rely on independent anesthesiologists or

anesthesia groups, such as USAP, but otherwise denies Paragraph 52.

       53.     USAP admits Paragraph 53.

       54.     USAP admits that Paragraph 54’s generalizations regarding hospitals’ perceptions

can be true in some circumstances, but to the extent that Paragraph 54’s generalizations are

intended to characterize each and every hospital, always and uniformly, those allegations are

vague, and USAP therefore otherwise denies them except to the extent that it admits a specific

well-pleaded factual allegation elsewhere in this Answer.

       55.     USAP admits that Paragraph 55’s generalizations regarding anesthesia groups can

be true in some circumstances, but to the extent that Paragraph 55’s generalizations are intended

to characterize each and every contract entered into by each and every anesthesia group, always

and uniformly, those allegations are vague, and USAP therefore otherwise denies them except to

the extent that it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       56.     Paragraph 56 is predicated on an undefined methodology to assess hospital and

practice group size that USAP lacks sufficient information to admit or deny. USAP admits that

Paragraph 56’s generalizations regarding anesthesia groups can be true in some circumstances,


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but to the extent that Paragraph 56’s generalizations are intended to characterize each and every

group’s dealings with providers and hospitals, always and uniformly, those allegations are vague,

and USAP therefore otherwise denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

       57.     USAP admits that Paragraph 57’s generalizations regarding hospitals and

anesthesia groups can be true in some circumstances, but to the extent that Paragraph 57’s

generalizations are intended to characterize each and every hospital or anesthesia group, always

and uniformly, those allegations are vague, and USAP therefore otherwise denies them except to

the extent that it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       58.     USAP admits that a hospital that is a party to an exclusive contract with an

anesthesia provider (or provider group) may find that switching to a different anesthesia provider

(or provider group) would be disruptive in some circumstances, but to the extent that

Paragraph 58’s generalizations are intended to characterize each and every hospital or anesthesia

group, always and uniformly, those allegations are vague, and USAP therefore otherwise denies

them except to the extent that it admits a specific well-pleaded factual allegation elsewhere in

this Answer.

       59.     USAP admits that hospitals can and do switch exclusive anesthesia providers in

many circumstances, that local providers frequently compete with USAP for exclusive hospital

contracts, and that hospitals and healthcare systems also commonly contract or consider

contracting with national or regional groups that do not have a current local presence. To the

extent that Paragraph 59’s generalizations are intended to characterize each and every hospital,

always and uniformly, those allegations are vague, and USAP therefore otherwise denies them




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except to the extent that it admits a specific well-pleaded factual allegation elsewhere in this

Answer.

       D.      Insurers negotiate network status and reimbursement with anesthesia
               providers

       60.     USAP admits that insurers create “networks” that include anesthesia providers

and other provider types listed in Paragraph 60 but denies that the only purpose of such networks

is to “control healthcare costs.” USAP otherwise lacks sufficient knowledge to admit or deny the

allegations of Paragraph 60.

       61.     USAP admits Paragraph 61.

       62.     USAP admits that anesthesia providers are typically paid, in part, based on time

units and a conversion factor, and that the conversion factor is negotiated between commercial

insurers and anesthesia providers. USAP denies that Paragraph 62 is a complete description of

all the factors commonly considered in anesthesia payment.

       63.     USAP admits that Paragraph 63 accurately describes a portion of how anesthesia

providers are paid but denies that Paragraph 63 is a complete description of all the factors

commonly considered in anesthesia payment.

       64.     Paragraph 64’s allegations regarding commercial insurers’ “use” of their provider

networks is vague and incomplete, and USAP therefore denies the first sentence of Paragraph 64.

USAP admits the final sentence of Paragraph 64.

       65.     Paragraph 65 is predicated on an undefined methodology to assess employer size

that USAP lacks sufficient information to admit or deny. USAP otherwise admits Paragraph 65.

       66.     USAP lacks sufficient information to admit or deny factual allegations regarding

the listed insurers’ client base or the undefined methodology used to assess insurer size, and on

that basis denies Paragraph 66.



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       67.     USAP admits that Paragraph 67’s vague generalizations can be true of some

administrative services only clients, but as set forth in USAP’s Answer to Paragraph 66, USAP

lacks sufficient information to admit or deny factual allegations regarding the listed insurers’

client base. USAP therefore otherwise denies them except to the extent that it admits a specific

well-pleaded factual allegation elsewhere in this Answer.

       E.      To discipline price demands, insurers may refuse to include anesthesia
               groups in their network

       68.     USAP admits that Paragraph 68’s vague generalizations regarding negotiations

between an anesthesia group and an insurer may have been true of some past negotiations, but

denies that those generalizations apply always and uniformly to each and every such negotiation.

USAP further denies that these generalizations hold true today under the No Surprises Act.

USAP therefore otherwise denies the allegations of Paragraph 68 except to the extent that it

admits a specific well-pleaded factual allegation elsewhere in this Answer.

       69.     USAP admits that Paragraph 69’s vague generalizations regarding the preferences

of insurers, hospitals, and anesthesia providers can be true some negotiations, but denies that

those generalizations apply always and uniformly to each and every such negotiation, and

therefore otherwise denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer.

       70.     USAP admits that insurers commonly apply pressure on anesthesia groups,

through hospital contracting and other means, to accept large discounts to be in network.

Paragraph 70’s vague generalizations regarding the preferences of insurer and hospitals can be

true of some negotiations, but USAP denies that those generalizations apply always and

uniformly to each and every such negotiation. USAP therefore denies them except to the extent

that it admits a specific well-pleaded factual allegation elsewhere in this Answer.



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       71.     Paragraph 71 is predicated on an undefined methodology to assess insurer size

that USAP lacks sufficient information to admit or deny. USAP admits that from time to time,

some hospitals have retained the right set forth in Paragraph 71 in some contracts with USAP,

but USAP lacks sufficient information to admit or deny Paragraph 71’s vague generalizations

regarding the practices of each and every other hospital and other anesthesia group. On that

basis, USAP otherwise denies Paragraph 71 except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

       72.     USAP admits that it generally prefers to be in-network, but it lacks knowledge or

information sufficient to admit or deny whether its competitors have always preferred to remain

in network. Paragraph 72’s vague generalizations regarding anesthesia providers’ preferences

are true of some anesthesia providers in some circumstances and that today, under the No

Surprises Act, out-of-network anesthesiologists must obtain payment through costly and

uncertain arbitration. USAP therefore admits the last sentence of Paragraph 72. However,

USAP denies that those generalizations apply always and uniformly to each and every anesthesia

provider, and on that basis otherwise denies Paragraph 72 except to the extent that it admits a

specific well-pleaded factual allegation elsewhere in this Answer.

       73.     USAP admits that insurers commonly pressure hospitals and other facilities to

switch anesthesia providers and otherwise admits the last sentence of Paragraph 73.

Paragraph 73’s vague generalizations regarding hospitals’ preferences are true in some

circumstances, but USAP denies that those generalizations apply always and uniformly to each

and every anesthesia provider. On that basis, USAP otherwise denies Paragraph 73 except to the

extent that it admits a specific well-pleaded factual allegation elsewhere in this Answer.




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       74.     USAP lacks sufficient knowledge or information regarding insurers’ preferences

to admit or deny the first sentence of Paragraph 74. USAP otherwise admits that Paragraph 74’s

vague generalizations can be true under some circumstances, but denies that those

generalizations apply always and uniformly to each and every marketplace participant. With

regard to the footnote appended to Paragraph 74, USAP admits that the costs to and burdens on

providers to obtain fair reimbursement through the state and federal arbitration processes are

disproportionately large such that the No Surprises Act has fundamentally changed the

marketplace that is the subject of the Complaint. USAP therefore denies that the “ultimate

results of ” the “legislative efforts” referenced “remain uncertain.” USAP further notes that the

footnote is predicated on an undefined methodology to assess insurer size that USAP lacks

sufficient information to admit or deny. USAP therefore otherwise denies Paragraph 74 except

to the extent that it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       75.     USAP admits that Paragraph 75’s vague generalizations regarding Insurers’ views

can be true in some circumstances, but denies that those generalizations apply always and

uniformly to each and every insurer, and on that basis otherwise denies Paragraph 75 except to

the extent that it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       76.     USAP admits that Paragraph 76’s vague generalizations regarding anesthesia

groups can be true in some circumstances, but denies that those generalizations apply always and

uniformly to each and every anesthesia group. On that basis, USAP otherwise denies

Paragraph 76 except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer. USAP denies the last sentence of Paragraph 76.




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IV.    USAP’S AND WELSH CARSON’S ANTICOMPETITIVE SCHEME

       A.       Welsh Carson hatches a strategy to consolidate anesthesia practices in Texas

       77.      To the extent the allegations characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. To the extent that a further response is

required, USAP admits that evidence produced in the FTC’s investigation of this matter includes

the quoted language, respectfully directs the Court to that evidence for an accurate and complete

statement of its contents, and USAP otherwise denies Paragraph 77.

       78.      USAP lacks sufficient information to admit or deny allegations regarding Welsh

Carson’s state of mind or internal delegation related to investments. USAP otherwise denies

Paragraph 78.

       79.      USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language and respectfully directs the Court to that evidence for an accurate

and complete statement of its contents. To the extent the allegations characterize Welsh

Carson’s state of mind, USAP lacks sufficient information to admit or deny them. USAP

otherwise denies Paragraph 79.

       80.      USAP lacks sufficient information to admit or deny the allegations in

Paragraph 80 and therefore denies Paragraph 80.

       B.       Welsh Carson executes on its consolidation strategy by creating USAP and
                acquiring a large practice in Houston

       81.      USAP lacks sufficient information to admit or deny the allegations in

Paragraph 81, and therefore denies Paragraph 81.

       82.      USAP admits the first sentence of Paragraph 82. USAP lacks sufficient

information to admit or deny factual allegations regarding Pediatrix, and therefore otherwise

denies Paragraph 82.



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       83.     USAP lacks sufficient information to admit or deny allegations regarding

Pediatrix’s acquisitions and Kristen Bratberg’s role in them. To the extent Paragraph 83

characterizes Welsh Carson’s state of mind, USAP lacks sufficient information to admit or deny

them. USAP therefore denies Paragraph 83.

       84.     USAP lacks sufficient information to admit or deny the accuracy of the quoted

language. USAP respectfully directs the Court to whatever written evidence may be available

for an accurate and complete statement of its contents. USAP lacks sufficient information to

admit or deny the remaining allegations and therefore denies Paragraph 84.

       85.     USAP admits Welsh Carson and New Day submitted a Letter of Intent to enter

into an agreement with Greater Houston Anesthesiology on August 29, 2012. USAP lacks

sufficient knowledge to admit or deny allegations regarding Welsh Carson’s presentations to

anesthesia practices. Further, Paragraph 85’s allegations regarding Welsh Carson’s contributions

to the transaction are irrelevant in light of the Court’s dismissal of the FTC’s claims against it.

       86.     USAP admits Paragraph 86.

       87.     USAP admits Greater Houston Anesthesiology chose Welsh Carson and New

Day’s offer and that the parties agreed to a three-month exclusivity period. USAP lacks

sufficient information to admit or deny Paragraph 87’s allegations regarding Welsh Carson’s

diligence efforts.

       88.     USAP lacks sufficient information to admit or deny allegations regarding

consultants’ analysis of the transaction. To the extent that a further response is required, USAP

admits that evidence produced in the FTC’s investigation of this matter includes the quoted

language, respectfully directs the Court to that evidence for an accurate and complete statement

of its contents, and otherwise denies Paragraph 88.




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       89.     USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language and respectfully directs the Court to that evidence for an accurate

and complete statement of its contents. USAP lacks sufficient information to admit or deny the

state of mind or a third party, and therefore otherwise denies Paragraph 89.

       90.     USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language and respectfully directs the Court to that evidence for an accurate

and complete statement of its contents. USAP otherwise lacks sufficient information to admit or

deny the allegations, and therefore otherwise denies Paragraph 90.

       91.     Paragraph 91’s allegations are vague, conclusory, and argumentative, and

therefore USAP denies them to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer. Further, to the extent the allegations characterize Welsh Carson’s

state of mind, USAP lacks sufficient information to admit or deny them. To the extent that a

further response is required, USAP admits that evidence produced in the FTC’s investigation of

this matter includes the quoted language and respectfully directs the Court to that evidence for an

accurate and complete statement of its contents.

       92.     To the extent the allegations characterize Welsh Carson’s state of mind, USAP

lacks sufficient information to admit or deny them. USAP admits that evidence produced in the

FTC’s investigation of this matter includes the quoted language and respectfully directs the

Court to that evidence for an accurate and complete statement of its contents. USAP otherwise

denies Paragraph 92.

       93.     Because USAP lacks sufficient information to admit or deny the allegations in

Paragraph 93, it denies Paragraph 93.




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       94.      USAP lacks sufficient information to know whether the “deal” was “looking

likely” and therefore denies the sentence to the extent it relies on that clause. USAP otherwise

admits Paragraph 94.

       95.      USAP admits Paragraph 95.

       C.       Welsh Carson and the newly-formed USAP develop a plan to roll up
                independent anesthesia practices and raise prices

       96.      The allegations in Paragraph 96 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. Further, USAP lacks sufficient information to admit or

deny allegations regarding Welsh Carson’s state of mind. To the extent that a further response is

required, USAP admits that evidence produced in the FTC’s investigation of this matter includes

the quoted language, respectfully directs the Court to that evidence for an accurate and complete

statement of its contents, and otherwise denies Paragraph 96.

       97.      Paragraph 97 is predicated on an undefined methodology to assess acquisition

size that USAP lacks sufficient information to admit or deny. The allegations in Paragraph 97

are vague, conclusory, and argumentative, and USAP therefore denies them except to the extent

that it admits a specific well-pleaded factual allegation elsewhere in this Answer. To the extent

Paragraph 97 purports to characterize USAP’s “Roll Up Houston” presentation, USAP contends

this document speaks for itself. USAP otherwise denies Paragraph 97.

       98.      Paragraph 98 sets forth legal conclusions to which no response is required. To the

extent that a further response is required, USAP admits that evidence produced in the FTC’s

investigation of this matter includes the quoted language, respectfully directs the Court to that

evidence for an accurate and complete statement of its contents, and otherwise denies

Paragraph 98.



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       99.     Paragraph 99 sets forth a legal conclusion to which no response is required. To

the extent that any further response is required, USAP admits that evidence produced in the

FTC’s investigation of this matter includes the quoted language, respectfully directs the Court to

that evidence for an accurate and complete statement of its contents. USAP otherwise denies

Paragraph 99, including to the extent that it is predicated on an undefined methodology for

calculating and comparing reimbursement rates that USAP lacks sufficient information to admit

or deny.

       100.    The allegations in Paragraph 100 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer.

       101.    The first sentence of Paragraph 101 is vague, conclusory, and argumentative, and

USAP denies it except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer. To the extent that any further response is required, USAP admits that

evidence produced in the FTC’s investigation of this matter includes the quoted language,

respectfully directs the Court to that evidence for an accurate and complete statement of its

contents, and otherwise denies Paragraph 101.

V.     USAP CONTINUES ITS ANTICOMPETITIVE SCHEME BY ROLLING UP
       ADDITIONAL PRACTICES

       A.      After its founding acquisition, USAP makes three additional acquisitions in
               Houston

       102.    Paragraph 102 is predicated on an undefined methodology to assess provider

group size that USAP lacks sufficient information to admit or deny. USAP admits that evidence

produced in the FTC’s investigation of this matter includes the quoted language and respectfully

directs the Court to that evidence for an accurate and complete statement of its contents. The

remaining allegations in Paragraph 102 are vague, conclusory, and argumentative, and USAP


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therefore denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer.

               1.      North Houston Anesthesiology – Kingwood Division (2014)

       103.    USAP admits that it entered into the referenced agreement and that the referenced

numbers of physicians and CRNAs affiliated with its counterparty are accurate.

       104.    USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language, contends the evidence speaks for itself, and otherwise denies the

allegations in Paragraph 104.

       105.    USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language, respectfully directs the Court to that evidence for an accurate and

complete statement of its contents, and otherwise denies the allegations in Paragraph 105.

       106.    Paragraph 106 is predicated on an undefined methodology to assess provider

group size that USAP lacks sufficient information to admit or deny. USAP admits that evidence

produced in the FTC’s investigation of this matter includes the quoted language, respectfully

directs the Court to that evidence for an accurate and complete statement of its contents, and

otherwise denies the allegations in Paragraph 106.

       107.    USAP denies Paragraph 107, including to the extent that it is predicated on an

undefined methodology for calculating and comparing reimbursement rates that USAP lacks

sufficient information to admit or deny.

               2.      MetroWest Anesthesia Care (2017)

       108.    USAP admits that it entered into the referenced agreement and that the referenced

numbers of physicians and CRNAs affiliated with its counterparty are accurate.

       109.    USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language and respectfully directs the Court to that evidence for an accurate


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and complete statement of its contents. USAP lacks sufficient knowledge to admit or deny the

allegation in the third sentence of Paragraph 109. USAP otherwise denies the allegations in

Paragraph 109.

       110.    Paragraph 110 is predicated on an undefined methodology to assess firm size that

USAP lacks sufficient information to admit or deny. USAP admits that evidence produced in the

FTC’s investigation of this matter includes the quoted language and respectfully directs the

Court to that evidence for an accurate and complete statement of its contents. USAP otherwise

denies the allegations in Paragraph 110.

       111.    USAP lacks sufficient knowledge to admit or deny Paragraph 111, including to

the extent that it is predicated on an undefined methodology for calculating and comparing

reimbursement rates that USAP lacks sufficient information to admit or deny.

               3.     Guardian Anesthesia Services (2020)

       112.    USAP admits Paragraph 112.

       113.    USAP admits that it grew as a result of its agreement with Guardian. USAP

otherwise denies the allegations in Paragraph 113.

       114.    USAP lacks sufficient knowledge to admit or deny Paragraph 114.

       115.    USAP lacks sufficient knowledge to admit or deny Paragraph 115, including to

the extent that it is predicated on an undefined methodology to assess provider reimbursement

rates that USAP lacks sufficient information to admit or deny.

               4.     USAP’s consolidation of Houston as it stands today

       116.    USAP lacks sufficient knowledge to admit or deny Paragraph 116.

       117.    Paragraph 117 is predicated on an undefined methodology to assess provider

group size that USAP lacks sufficient information to admit or deny.




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       118.    Paragraph 118 is predicated on an undefined methodology to assess provider

group size and reimbursement rates that USAP lacks sufficient information to admit or deny.

       119.    USAP denies Paragraph 119.

       B.      USAP expands its roll-up scheme to Dallas

       120.    The first sentence of Paragraph 120 calls for a legal conclusion to which no

response is required. To the extent that a response is required, USAP denies the allegations in

the first sentence of Paragraph 120. USAP admits the allegation in the second sentence of

Paragraph 120.

       121.    Paragraph 121 is predicated on an undefined methodology to assess case volume

that USAP lacks sufficient information to admit or deny. USAP admits that evidence produced

in the FTC’s investigation of this matter includes language similar to the quoted language and

respectfully directs the Court to that evidence for an accurate and complete statement of its

contents. USAP otherwise denies the allegations in Paragraph 121.

               1.      Pinnacle Anesthesia Consultants (2014)

       122.    Paragraph 122 is predicated on an undefined methodology to assess practice

group size that USAP lacks sufficient information to admit or deny. Paragraph 122’s allegations

assume a finding that the antitrust product market the FTC has pleaded is well defined – a

conclusion that USAP denies. Moreover, USAP lacks sufficient information to admit or deny

Paragraph 122’s allegations comparing USAP’s number of cases and revenues to other,

unidentified providers of anesthesia services. USAP therefore denies Paragraph 122.

       123.    Paragraph 123 is predicated on an undefined methodology to assess practice

group size that USAP lacks sufficient information to admit or deny. USAP admits that before

the agreement, EmCare provided “back office” services to Pinnacle, but otherwise denies the

allegations in the first sentence of Paragraph 123. For the remaining portions of Paragraph 123,


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USAP admits that evidence produced in the FTC’s investigation of this matter includes the

quoted language and respectfully directs the Court to that evidence for an accurate and complete

statement of its contents.

       124.    USAP lacks sufficient information to admit or deny Paragraph 124’s allegations

regarding Welsh Carson’s state of mind. USAP otherwise admits that evidence produced in the

FTC’s investigation of this matter includes the quoted language and respectfully directs the

Court to that evidence for an accurate and complete statement of its contents.

       125.    Paragraph 125 is predicated on an undefined methodology to assess practice

group size that USAP lacks sufficient information to admit or deny. USAP admits that evidence

produced in the FTC’s investigation of this matter includes the quoted language in the first

sentence and respectfully directs the Court to that evidence for an accurate and complete

statement of its contents. USAP admits the allegations in the second and third sentences of

Paragraph 125 insofar as they concern USAP; USAP lacks sufficient information to admit or

deny any allegations concerning Welsh Carson’s actions or knowledge. USAP admits that

evidence produced in the FTC’s investigation of this matter includes the documents referenced

and quoted in the fourth and fifth sentences, admits the quoted language appears in those

documents, and respectfully directs the Court to that evidence for an accurate and complete

statement of its contents. USAP otherwise denies Paragraph 125.

       126.    USAP admits that a letter of intent was signed on September 13, 2013, and that

evidence produced in the FTC’s investigation of this matter includes the quoted language in the

first sentence of Paragraph 126, but respectfully directs the Court to that evidence for an accurate

and complete statement of its contents. The second sentence alleges a legal conclusion to which

no response is required. To the extent that a further response is required, USAP denies the




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allegations in the second sentence of Paragraph 126. USAP admits the allegations in the third

sentence of Paragraph 126 as they relate to USAP; USAP lacks sufficient information to admit or

deny the actions of Welsh Carson and Brian Regan.

       127.    USAP admits that the allegations in the first three sentences of Paragraph 127

accurately characterize the referenced arrangements to help fund USAP’s agreement with Welsh

Carson. The fourth sentence is a characterization of the FTC’s own pleading to which no

response is required. To the extent that a further response is required, USAP otherwise denies

Paragraph 127.

       128.    USAP denies Paragraph 133 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP further denies the allegations in the first sentence of

Paragraph 128. USAP lacks sufficient information to admit or deny the allegations in the second

sentence. USAP admits the allegations in the third sentence. USAP admits that it settled its

arbitration with Aetna in 2016 and respectfully directs the Court to the terms of the settlement for

an accurate and complete statement of its contents. The remaining allegations in the fourth

sentence regarding price increases for unidentified insurers are vague, and USAP therefore

denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer.

       129.    USAP admits the allegations in the first sentence of Paragraph 129 as they relate

to USAP’s agreement with Pinnacle. USAP lacks sufficient information to admit or deny the

actions or state of mind of Welsh Carson and Brian Regan. USAP admits that evidence

produced in the FTC’s investigation of this matter includes the quoted language in the second




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sentence of Paragraph 129 and respectfully directs the Court to that evidence for an accurate and

complete statement of its contents.

               2.     Anesthesia Consultants of Dallas (2015)

       130.    USAP admits that it entered into the referenced agreement and that the referenced

numbers of physicians and CRNAs affiliated with its counterparty are accurate.

       131.    Paragraph 131 is predicated on an undefined methodology to assess facility size

that USAP lacks sufficient information to admit or deny. USAP admits that Anesthesia

Consultants of Dallas had exclusive contracts with Methodist Dallas Medical Center and Texas

Regional Medical Center before it entered into an agreement with USAP. USAP further admits

that Anesthesia Consultants of Dallas served other Methodist Dallas hospitals. USAP otherwise

denies the allegations in Paragraph 131.

       132.    USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language in the second and third sentences of Paragraph 132 and respectfully

directs the Court to that evidence for an accurate and complete statement of its contents. USAP

otherwise denies the allegations in Paragraph 132.

       133.    Paragraph 133 is predicated on an undefined methodology for calculating and

comparing reimbursement rates that USAP lacks sufficient information to admit or deny. To the

extent that any further response is required, USAP denies Paragraph 133.

               3.     Excel Anesthesia Consultants (2015)

       134.    USAP admits that the allegations preceding the parenthetical at the end of

Paragraph 134 accurately characterize the referenced agreement and that the referenced numbers

of physicians and CRNAs affiliated with its counterparty are accurate. USAP admits that

evidence produced in the FTC’s investigation of this matter includes the quoted language in the




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parenthetical at the end of Paragraph 134 and respectfully directs the Court to that evidence for

an accurate and complete statement of its contents.

       135.    Paragraph 135 is predicated on an undefined methodology to assess hospital size

that USAP lacks sufficient information to admit or deny. USAP admits that evidence produced

in the FTC’s investigation of this matter includes the quoted language in Paragraph 135 and

respectfully directs the Court to that evidence for an accurate and complete statement of its

contents. USAP otherwise denies the allegations in Paragraph 135.

       136.    Paragraph 136 is predicated on an undefined methodology to assess practice

group size that USAP lacks sufficient information to admit or deny. USAP admits that evidence

produced in the FTC’s investigation of this matter includes the quoted language in the second,

fourth, and fifth sentences of Paragraph 136 and respectfully directs the Court to that evidence

for an accurate and complete statement of its contents. USAP lacks sufficient information to

admit or deny the allegation set forth in the third sentence of Paragraph 136. USAP otherwise

denies the allegations in Paragraph 136.

       137.    Paragraph 137 is predicated on an undefined methodology for calculating and

comparing reimbursement rates that USAP lacks sufficient information to admit or deny. USAP

therefore denies Paragraph 137.

               4.      Southwest, BMW, Medical City Physicians, and Sundance (2015-
                       2016)

       138.    Paragraph 138 is predicated on an undefined methodology to assess practice

group size that USAP lacks sufficient information to admit or deny. USAP admits that evidence

produced in the FTC’s investigation of this matter includes the quoted language in the first

sentence of Paragraph 138, but respectfully directs the Court to that evidence for an accurate and

complete statement of its contents. USAP lacks sufficient information to admit or deny the



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actions of Welsh Carson alleged in the first sentence of Paragraph 138. USAP admits the

allegations set forth inAs to the second sentence of Paragraph 138, USAP admits the allegations

pertaining to Southwest Anesthesia Associates and Sundance Anesthesia. USAP interprets

“BMW Anesthesiology” as referencing “BMW Physicians.” USAP denies that it acquired

BMW Physicians or Medical City Physicians and incorporates by reference its response to

Paragraph 141 below. USAP otherwise denies Paragraph 138.

       139.    USAP admits the allegations set forth in the first sentence of Paragraph 139.

USAP admits that evidence produced in the FTC’s investigation of this matter discusses the

information alleged in the second sentence of Paragraph 139 and respectfully directs the Court to

that evidence for an accurate and complete statement of its contents.

       140.    USAP denies Paragraph 140 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP admits that evidence produced in the FTC’s investigation

of this matter includes the quoted language in the second sentence of Paragraph 140, but

respectfully directs the Court to that evidence for an accurate and complete statement of its

contents. USAP admits that after it entered into an agreement with the counterparty identified in

Paragraph 140, the reimbursement rate with United was the amount alleged in Paragraph 140,

and denies any mischaracterization of that rate change. USAP otherwise denies the allegations

in Paragraph 140.

       141.    USAP admits Paragraph 141.interprets “BMW Anesthesiology” as referencing

“BMW Physicians.” USAP objects to Paragraph 141 as vague and ambiguous insofar as it uses

the undefined term “acquire,” and will interpret that term to mean that a former practice was

subject to a merger, an asset purchase, or an acquisition of stock or other equity. USAP therefore




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denies that it acquired BMW Physicians or Medical City Physicians, but admits that USAP (as

defined in the Complaint at 11 n.1) hired as new employees personnel formerly affiliated with

BMW Physicians and Medical City Physicians, and that in connection with the hiring of these

new employees, cash and stock payments in the referenced amounts were made.

       142.    Paragraph 142’s allegations regarding the intentions of unspecified persons are

vague and conclusory, and USAP therefore denies them. USAP admits that evidence produced

in the FTC’s investigation of this matter includes the quoted language in the third sentence of

Paragraph 142, but respectfully directs the Court to that evidence for an accurate and complete

statement of its contents. USAP otherwise denies Paragraph 142.

       143.    USAP denies Paragraph 143 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP admits the allegations in the second sentence of

Paragraph 143. USAP otherwise denies the allegations in Paragraph 143.

       144.    USAP admits that it entered into the agreement referenced in the first two

sentences of Paragraph 144 and that the referenced numbers of physicians and CRNAs affiliated

with its counterparty are accurate. USAP further admits that Sundance Anesthesia held an

exclusive anesthesia services agreement with Texas Health Resources-Southwest Fort Worth.

USAP admits that evidence produced in the FTC’s investigation of this matter includes the

quoted language in the fourth sentence of Paragraph 144 and respectfully directs the Court to that

evidence for an accurate and complete statement of its contents. USAP otherwise denies the

allegations in Paragraph 144.

       145.    Paragraph 145 is predicated on an undefined methodology for calculating and

comparing reimbursement rates that USAP lacks sufficient information to admit or deny.




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               5.      USAP’s consolidation of Dallas as it stands today

       146.    Paragraph 146 is predicated on an undefined methodology to assess case volume

and revenue that USAP lacks sufficient information to admit or deny. Paragraph 146’s

allegations assume a finding that the antitrust product market the FTC has pleaded is well

defined – a conclusion that USAP denies. Moreover, USAP lacks sufficient information to admit

or deny Paragraph 146’s allegations comparing USAP’s number of cases and revenues to other,

unidentified providers of anesthesia services. Paragraph 146’s characterization of USAP’s

conduct is argumentative and thus requires no response. USAP otherwise denies Paragraph 146.

       147.     Paragraph 147 is predicated on an undefined methodology to assess practice

group and hospital size that USAP lacks sufficient information to admit or deny. The allegations

in the first sentence of Paragraph 147 are vague and ambiguous, and USAP therefore denies

them except to the extent that it admits a specific well-pleaded factual allegation elsewhere in

this Answer. USAP otherwise admits that the referenced agreements were produced in the

FTC’s investigation of this matter and respectfully directs the Court to that evidence for an

accurate and complete statement of its contents. To the extent that a further response is required,

USAP denies the balance of Paragraph 147.

       148.    USAP lacks sufficient information to admit or deny Paragraph 148’s allegations

comparing USAP’s reimbursement rate to other, unidentified providers’ anesthesia services.

USAP admits that it was removed from United Healthcare’s network in 2020, but otherwise

denies the allegations in the second sentence of Paragraph 148.

       149.    USAP denies Paragraph 149.




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       C.      USAP further expands its roll-up scheme by acquiring other large practices
               across Texas

       150.    The allegations in Paragraph 150 are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent that a further response is required, USAP

admits that evidence produced in the FTC’s investigation of this matter includes the quoted

language. Further, Paragraph 150’s allegations regarding Welsh Carson are irrelevant in light of

the Court’s dismissal of the FTC’s claims against it. USAP otherwise denies Paragraph 150.

       151.    USAP denies Paragraph 151 to the extent that it is predicated on an undefined

methodology for calculating reimbursement rates that USAP lacks sufficient information to

admit or deny. Paragraph 151’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. USAP admits that it hired Savvy Sherpa to

provide consulting services in 2013. The remaining allegations in Paragraph 151 are vague and

conclusory, and USAP therefore denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

       152.    Paragraph 152’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. The remaining allegations in Paragraph 152 are

vague, conclusory, and argumentative, and USAP therefore denies them except to the extent that

it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       153.    USAP denies Paragraph 153 to the extent that it is predicated on an undefined

methodology for calculating reimbursement rates that USAP lacks sufficient information to

admit or deny. Paragraph 153’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. USAP respectfully directs the Court to its

contracts for an accurate and complete statement of their contents, and denies Paragraph 153 to



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the extent it mischaracterizes those contracts. The remaining allegations in Paragraph 153 are

vague and conclusory, and USAP therefore denies them except to the extent that it admits a

specific well-pleaded factual allegation elsewhere in this Answer.

       154.    USAP denies Paragraph 154 to the extent that it is predicated on an undefined

methodology for calculating reimbursement rates that USAP lacks sufficient information to

admit or deny. Paragraph 154’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. USAP respectfully directs the Court to its

contracts for an accurate and complete statement of their contents, and denies Paragraph 154 to

the extent it mischaracterizes those contracts. Further, USAP admits that evidence produced in

the FTC’s investigation of this matter includes the quoted language and respectfully directs the

Court to that evidence for an accurate and complete statement of its contents. The remaining

allegations in Paragraph 154 are vague and conclusory, and USAP therefore denies them except

to the extent that it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       155.    USAP denies Paragraph 155 to the extent that it is predicated on an undefined

methodology for calculating reimbursement rates that USAP lacks sufficient information to

admit or deny. USAP respectfully directs the Court to its contracts for an accurate and complete

statement of their contents, and denies Paragraph 155 to the extent it mischaracterizes those

contracts. The remaining allegations in Paragraph 155 are vague and conclusory, and USAP

therefore denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer.

       156.    USAP denies Paragraph 155 to the extent that it is predicated on an undefined

methodology for calculating reimbursement rates that USAP lacks sufficient information to

admit or deny. USAP admits it entered into agreements with four practices between 2016 and




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2019. USAP contends that that its contracts speak for themselves, and denies Paragraph 156 to

the extent it mischaracterizes those contracts.

               1.      East Texas Anesthesiology Associates (2016)

       157.    USAP admits that it entered into the referenced agreement and that the referenced

numbers of physicians and CRNAs affiliated with its counterparty are accurate.

       158.    USAP admits that in 2016 East Texas Anesthesiology Associates provided

anesthesia services at East Texas Medical Center and University of Texas Health Science Center

in Tyler. USAP lacks sufficient information to admit or deny the FTC’s unsourced allegations

regarding case volume and revenue. The remaining allegations in Paragraph 158 are vague,

conclusory, and argumentative, and USAP therefore denies them except to the extent that it

admits a specific well-pleaded factual allegation elsewhere in this Answer.

       159.    USAP denies Paragraph 159 to the extent that it is predicated on an undefined

methodology for calculating reimbursement rates that USAP lacks sufficient information to

admit or deny. USAP respectfully directs the Court to its contracts for an accurate and complete

statement of their contents, and denies Paragraph 159 to the extent it mischaracterizes those

contracts. USAP otherwise denies Paragraph 159.

               2.      Capitol Anesthesiology Association (2018)

       160.    Paragraph 160 is predicated on an undefined methodology to assess practice

group and hospital size that USAP lacks sufficient information to admit or deny. With that

exception, USAP admits that it entered into the referenced agreement and that the referenced

numbers of physicians and CRNAs affiliated with its counterparty are accurate.

       161.    With the exception of any intended characterization of a relevant antitrust market

and the undefined basis for characterizing Lake Travis’s size, USAP admits the first two

sentences of Paragraph 161. USAP admits that evidence produced in the FTC’s investigation of


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this matter includes the quoted language. The remaining allegations in Paragraph 161 are vague

and conclusory, and USAP therefore denies them except to the extent that it admits a specific

well-pleaded factual allegation elsewhere in this Answer.

       162.    USAP admits that Capitol Anesthesiology Association had certain exclusive

contracts with Austin-area hospitals. USAP admits that evidence produced in the FTC’s

investigation of this matter includes the quoted language. The remaining allegations in

Paragraph 162 are vague and conclusory, and USAP therefore denies them except to the extent

that it admits a specific well-pleaded factual allegation elsewhere in this Answer.

       163.    USAP denies Paragraph 163 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP respectfully directs the Court to its contracts for an

accurate and complete statement of their contents, and denies Paragraph 163 to the extent it

mischaracterizes those contracts. USAP otherwise denies Paragraph 163.

       164.    USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language. USAP respectfully directs the Court to its contracts for an

accurate and complete statement of their contents, and denies Paragraph 164 to the extent it

mischaracterizes those contracts. The remaining allegations in Paragraph 164 are vague and

conclusory, and USAP therefore denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

               3.      Amarillo Anesthesia Consultants (2018)

       165.    USAP admits that it entered into the agreement referenced in the first two

sentences of Paragraph 165 and that the referenced numbers of physicians and CRNAs affiliated

with its counterparty are accurate. USAP lacks sufficient knowledge to admit or deny the last

sentence of Paragraph 165, and on that basis denies it.


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        166.   Paragraph 166 is predicated on an undefined methodology to assess hospital size

that USAP lacks sufficient information to admit or deny. USAP admits that Baptist St.

Anthony’s hospital is one of two hospitals in Amarillo, and that it is part of the Ardent Health

Services system. The remaining allegations in Paragraph 166 are vague, conclusory, and

argumentative, and USAP therefore denies them except to the extent that it admits a specific

well-pleaded factual allegation elsewhere in this Answer.

        167.   USAP lacks sufficient knowledge to admit or deny Paragraph 167 and therefore

denies it.

        168.   USAP denies Paragraph 168 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP respectfully directs the Court to its contracts for an

accurate and complete statement of their contents, and denies Paragraph 168 to the extent it

mischaracterizes those contracts. The remaining allegations in Paragraph 168 are vague and

conclusory, and USAP therefore denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

               4.      Star Anesthesia (2019)

        169.   USAP admits that it entered into the agreement referenced in the first two

sentences of Paragraph 169 and that the referenced numbers of physicians and CRNAs affiliated

with its counterparty are accurate. The third sentence of Paragraph 169 is predicated on an

undefined methodology to assess hospital size that USAP lacks sufficient information to admit or

deny.

        170.   Paragraph 170’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. Further, the allegations in Paragraph 170 are




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vague and conclusory, and USAP therefore denies them except to the extent that it admits a

specific well-pleaded factual allegation elsewhere in this Answer.

       171.    USAP admits that evidence produced in the FTC’s investigation of this matter

includes the quoted language. The remaining allegations in Paragraph 171 are vague and

conclusory, and USAP therefore denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

       172.    Paragraph 172 is predicated on an undefined methodology to assess practice size

that USAP lacks sufficient information to admit or deny. USAP admits that evidence produced

in the FTC’s investigation of this matter includes the quoted language. The remaining

allegations in Paragraph 172 are vague, conclusory, and argumentative, and USAP therefore

denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer. USAP otherwise denies Paragraph 172.

       173.    USAP denies Paragraph 173 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP respectfully directs the Court to its contracts for an

accurate and complete statement of their contents, and denies Paragraph 173 to the extent it

mischaracterizes those contracts. The remaining allegations in Paragraph 173 are vague and

conclusory, and USAP therefore denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer.

VI.    USAP’S OTHER ANTICOMPETITIVE CONDUCT

       174.    Paragraph 174 is predicated on an undefined methodology to assess provider size,

the results of which USAP lacks sufficient information to admit or deny. USAP therefore denies

Paragraph 174.




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       A.       USAP uses price-setting arrangements to charge its own, higher rates for
               anesthesia services provided by other practices

       175.    USAP admits that there are many anesthesia providers and practices that it has not

acquired, and further avers that it faces competition from these providers and practices that the

Complaint ignores. USAP also admits that a given medical school or teaching hospital might

independently decide not to affiliate with an anesthesia provider or practice that enters into an

agreement with USAP. USAP otherwise lacks sufficient information to admit or deny

Paragraph 175’s vague generalizations regarding unidentified providers, practices, schools, and

hospitals, and on that basis otherwise denies Paragraph 175.

       176.    USAP denies Paragraph 176 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP admits that its predecessor entered into two agreements

with anesthesia practices to provide them back-office, administrative services, that USAP

inherited these agreements, and that USAP itself has entered into a third such agreement. USAP

further admits that, as more fully set forth by those agreements’ terms, the provider groups

assigned to USAP their rights to bill and receive payment from patients and payors for services

rendered. USAP then billed payors for the anesthesia services rendered by the non-USAP

providers using USAP’s own provider and tax information, obtained reimbursement from

payors, and then paid the non-USAP providers, typically retaining some portion of the

reimbursement amount as compensation for the administrative services it performed. USAP

otherwise contends that the agreements speak for themselves, and denies Paragraph 176 to the

extent that it mischaracterizes them.




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       177.    USAP hereby incorporates its response to Paragraph 176. USAP lacks

information sufficient to admit or deny Plaintiff’s claim regarding hospitals’ expectations.

USAP therefore denies Paragraph 177.

       178.    The allegations in Paragraph 178 consist of conclusory assertions and

hypotheticals that depend on the Complaint’s disputed characterization of the agreements in

question, and USAP thus believes no response is required. To the extent that a response is

required, USAP denies Paragraph 178.

       179.    USAP lacks information sufficient to admit or deny whether its executives made

the quoted statements, and denies Paragraph 179’s allegations to that effect. USAP further

objects to Paragraph 179 to the extent that it characterizes information protected by the attorney-

client privilege. USAP otherwise denies Paragraph 179.

       180.    USAP admits that it currently provides billing services to TMHPO in Houston

and that it previously provided billing services to providers affiliated with Baylor College of

Medicine in Houston. USAP also previously provided billing services to Dallas Anesthesiology

Associates, but USAP terminated its agreement with that group in November 2023. USAP

contends that those agreements speak for themselves, and denies Paragraph 180 to the extent it

mischaracterizes them.

       181.    USAP denies Paragraph 181.

               1.      The Methodist Hospital Physician Organization

       182.    USAP admits Paragraph 182.

       183.    USAP admits Paragraph 183.

       184.    USAP admits that the quoted words appear in GHA’s contract with TMHPO.

USAP respectfully directs the Court to that contract for an accurate and complete statement of its

contents, and denies Paragraph 184 to the extent it mischaracterizes that contract.


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        185.     USAP admits that the quoted words appear in GHA’s contract with Houston

Methodist Hospital. USAP respectfully directs the Court to that contract for an accurate and

complete statement of its contents, and denies Paragraph 185 to the extent it mischaracterizes

that contract.

        186.     USAP admits that it inherited GHA’s contract with TMHPO when it entered into

an agreement with GHA. USAP respectfully directs the Court to that contract for an accurate

and complete statement of its contents, and denies Paragraph 186 to the extent it

mischaracterizes that contract.

        187.     USAP denies Paragraph 187 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP admits that it has continued to provide billing services for

TMHPO physicians. USAP respectfully directs the Court to that contract for an accurate and

complete statement of its contents, and denies Paragraph 187 to the extent it mischaracterizes

that contract. USAP otherwise denies Paragraph 187.

        188.     USAP admits that the quoted phrases appear in the referenced presentation and

respectfully directs the Court to that presentation for an accurate and complete statement of its

contents, but denies Paragraph 188’s characterization of those quotations and otherwise denies

Paragraph 188.

        189.     USAP denies Paragraph 189 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP admits that the referenced contract has not been terminated,

respectfully directs the Court to that contract for an accurate and complete statement of its




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contents, and denies Paragraph 189 to the extent it mischaracterizes that contract. USAP

otherwise denies Paragraph 189.

               2.       Dallas Anesthesiology Associates

       190.    Paragraph 190 is predicated on an undefined methodology to assess practice size,

the results of which USAP lacks sufficient information to admit or deny. USAP otherwise

admits Paragraph 190.

       191.    USAP admits Paragraph 191.

       192.    USAP admits Paragraph 192.

       193.    USAP admits that the quoted words appear in Pinnacle’s contract with Dallas

Anesthesiology Associates. USAP respectfully directs the Court to that contract for an accurate

and complete statement of its contents, and denies Paragraph 193 to the extent it

mischaracterizes that contract.

       194.    USAP admits that it inherited Pinnacle’s contract with Dallas Anesthesiology

Associates when it entered into an agreement with Pinnacle. USAP respectfully directs the

Court to that contract for an accurate and complete statement of its contents, and denies

Paragraph 194 to the extent it mischaracterizes that contract.

       195.    USAP admits that Pinnacle provided Dallas Anesthesiology Associates with

certain back-office administrative services, such as a customer service telephone number, and

that the groups billed patients in the service provider physician’s name. USAP otherwise denies

Paragraph 195.

       196.    USAP denies Paragraph 196. USAP terminated its agreement with Dallas

Anesthesiology Associates in November 2023. USAP further denies Paragraph 196 to the extent

that it is predicated on an undefined methodology for calculating and comparing reimbursement

rates that USAP lacks sufficient information to admit or deny.


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               3.     Baylor College of Medicine

       197.    USAP admits Paragraph 197.

       198.    USAP admits that it considered a partnership with Baylor College of Medicine,

but denies Paragraph 198’s speculation regarding the reason for such a partnership.

       199.    USAP admits that it hired the consulting firm Stax, Inc. to evaluate a potential

agreement with another practice. USAP otherwise denies Paragraph 199.

       200.    USAP lacks information sufficient to admit or deny whether Mr. Regan made the

quoted comment, and on that basis denies Paragraph 200’s allegation to that effect.

Paragraph 200 otherwise consists of conclusory and argumentative assertions to which USAP

believes no response is required. To the extent that a response is required, USAP denies

Paragraph 200.

       201.    USAP admits that it entered into an agreement with Baylor College of Medicine

in 2014, respectfully directs the Court to that agreement for an accurate and complete statement

of its contents, and denies Paragraph 201 to the extent it mischaracterizes that agreement.

       202.    USAP admits that it entered into an agreement with Baylor College of Medicine

in 2014, respectfully directs the Court to that agreement for an accurate and complete statement

of its contents, and denies Paragraph 202 to the extent it mischaracterizes that agreement.

       203.    USAP admits that it and Baylor College of Medicine operated in a manner

consistent with the agreement they entered in 2014, respectfully directs the Court to that

agreement for an accurate and complete statement of its contents, and denies Paragraph 203 to

the extent it mischaracterizes that agreement. USAP admits that its agreement with Baylor

College of Medicine was terminated in 2020.




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                 4.     University of Texas

       204.      Paragraph 204 is predicated on an undefined methodology to assess hospital size

that USAP lacks sufficient information to admit or deny. USAP otherwise admits

Paragraph 204.

       205.      USAP admits that it considered a partnership with the University of Texas

anesthesia group. USAP otherwise denies Paragraph 205.

       206.      USAP denies the third sentence’s characterization of any proposed agreement.

USAP otherwise admits Paragraph 206.

       207.      USAP admits that it never entered into a “price-setting arrangement” – or any

agreement for the provision of administrative services – with the anesthesia group from the

University of Texas. USAP otherwise denies Paragraph 207.

       B.        USAP’s market allocation with Envision Healthcare

       208.      USAP admits that Paragraph 208 accurately characterizes a fact that USAP

learned while exploring its potential agreement with the referenced counterparty.

       209.      USAP admits Paragraph 209.

       210.      USAP admits that Paragraph 210 accurately characterizes a view that employees

of the referenced counterparty conveyed to USAP while USAP was exploring entering into a

potential agreement with that counterparty.

       211.      USAP admits that Bratberg and Regan conducted negotiations, on behalf of

USAP and Welsh Carson respectively, with the referenced counterparties. USAP otherwise

denies Paragraph 211, including its characterization of these negotiations and their purpose.

       212.      USAP admits that Regan negotiated a contract with the referenced counterparties.

USAP otherwise denies Paragraph 212, including its characterization of these negotiations and

their purpose.


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       213.      USAP admits that Regan negotiated a contract with the referenced counterparties.

USAP otherwise denies Paragraph 213, including its characterization of these negotiations and

their purpose.

       214.      USAP admits that it entered into an agreement with the counterparties identified

in Paragraph 214, respectfully directs the Court to that agreement for an accurate and complete

statement of its contents, and denies Paragraph 214 to the extent it mischaracterizes that

agreement.

       215.      USAP denies Paragraph 215.

VII.   RELEVANT MARKETS

       A.        The relevant service market is commercially insured hospital-only anesthesia
                 services

       216.      Paragraph 216 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 216.

       217.      Paragraph 217 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 217.

       218.      Paragraph 218 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 218.

       219.      Paragraph 219 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 219.

                 1.     Services performed outside a hospital are not part of the relevant
                        service market

       220.      Paragraph 220 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 220.

       221.      USAP denies Paragraph 221.




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       222.    Paragraph 222 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP contends that Paragraph 222 is an oversimplified

and incomplete description of the complex care anesthesiologists, CRNAs, and CAAs provide to

patients before, during, and after surgical and other procedures, and USAP therefore denies the

allegations in Paragraph 222.

       223.    Paragraph 223 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP contends that Paragraph 223 is an oversimplified

and incomplete description of the complex care anesthesiologists, CRNAs, and CAAs provide to

patients before, during, and after surgical and other procedures, and USAP therefore denies

Paragraph 223.

       224.    USAP admits that certain hospital services such as trauma and obstetrics that are

not provided in outpatient settings require overnight call and longer shifts that are scheduled in

advance. USAP otherwise contends that Paragraph 224 is an oversimplified and incomplete

description of the complex care anesthesiologists, CRNAs, and CAAs provide to patients before,

during, and after surgical and other procedures, and USAP therefore denies Paragraph 224.

       225.    Paragraph 225 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 225.

       226.    Paragraph 226 alleges a legal conclusion to which no response is required.

Further, the allegations in the first sentence of Paragraph 226 are vague and ambiguous. To the

extent that a further response is required, USAP denies Paragraph 226.

       227.    Paragraph 227 is predicated on an undefined methodology to assess hospital size,

the results of which USAP lacks sufficient information to admit or deny. USAP admits that

evidence produced in the FTC’s investigation of this matter includes the quoted language,




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respectfully directs the Court to that evidence for an accurate and complete statement of its

contents, and otherwise denies Paragraph 227.

       228.    Paragraph 228 is predicated on an undefined methodology to assess hospital size,

the results of which USAP lacks sufficient information to admit or deny. USAP admits that

evidence produced in the FTC’s investigation of this matter includes the quoted language,

respectfully directs the Court to that evidence for an accurate and complete statement of its

contents, and otherwise denies Paragraph 228.

       229.    Paragraph 229 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 229.

       230.    Paragraph 230 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 230.

               2.      Non-commercial insurance plans are not part of the relevant service
                       market

       231.    Paragraph 231 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 231.

       232.    Paragraph 232 alleges a legal conclusion to which no response is required.

Further, Paragraph 232’s generalizations regarding insurance plans are vague, and USAP

therefore denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer. To the extent that a further response is required, USAP denies

Paragraph 232.

       233.    Paragraph 233 alleges a legal conclusion to which no response is required. USAP

also denies Paragraph 233 to the extent that it is predicated on an undefined methodology for

calculating and comparing reimbursement rates that USAP lacks sufficient information to admit

or deny. Further, Paragraph 233’s generalizations regarding insurers and anesthesiologists are



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vague, and USAP therefore denies them except to the extent that it admits a specific well-

pleaded factual allegation elsewhere in this Answer. To the extent that a further response is

required, USAP denies Paragraph 233.

       234.    Paragraph 234 alleges a legal conclusion to which no response is required.

Further, Paragraph 234’s generalizations regarding insurers and anesthesiologists are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent that a further response is required, USAP

denies Paragraph 234.

       B.      The relevant geographic markets to assess the competitive implications of the
               challenged conduct are no broader than the local metropolitan statistical
               areas

       235.    Paragraph 235 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 235.

               1.       A relevant geographic market is no broader than the Houston
                        metropolitan statistical area

       236.    Paragraph 236 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 236.

       237.    Subject to the qualification that the metropolitan statistical area (“MSA”) is more

formally called “Houston-The Woodlands-Sugar Land, TX MSA,” USAP admits Paragraph 237.

       238.    Paragraph 238’s generalizations regarding patients’ activities are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent that a further response is required, USAP

admits that anesthesia practices compete for hospital contracts in the Houston-The Woodlands-

Sugar Land, TX MSA but otherwise denies Paragraph 238.




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       239.    Paragraph 239 generalizations regarding unidentified hospitals and anesthesiology

practices are vague, and USAP therefore denies them except to the extent that it admits a specific

well-pleaded factual allegation elsewhere in this Answer. To the extent that a further response is

required, USAP denies Paragraph 239.

       240.    USAP admits the first sentence of Paragraph 240. Otherwise, Paragraph 240’s

generalizations regarding unidentified hospitals and anesthesiology practices are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer.

       241.    USAP admits the first sentence of Paragraph 241. USAP lacks information to

admit or deny Paragraph 241’s allegations regarding Blue Cross.

       242.    Paragraph 242 sets forth legal conclusions to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 242.

       243.    Paragraph 243 alleges a legal conclusion to which no response is required.

Further, its allegations regarding unidentified industry participants are vague and ambiguous. To

the extent that a further response is required, USAP denies Paragraph 243.

       244.    Paragraph 244 alleges a legal conclusion to which no response is required.

Further, its allegations regarding unidentified evidence are vague and ambiguous. To the extent

that a further response is required, USAP denies Paragraph 244.

               2.     A relevant geographic market is no broader than the Dallas-Fort
                      Worth metropolitan statistical area

       245.    Paragraph 245 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 245.

       246.    Subject to the qualification that the MSA is more formally called “Dallas-Fort

Worth-Arlington, TX MSA,” USAP admits Paragraph 246.



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       247.    Paragraph 247’s generalizations regarding patients’ activities are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent that a further response is required, USAP

admits that anesthesia practices compete for hospital contracts in the Dallas-Fort Worth-

Arlington, TX MSA but otherwise denies Paragraph 247.

       248.    Paragraph 248’s generalizations regarding unidentified hospitals and

anesthesiology practices are vague, and USAP therefore denies them except to the extent that it

admits a specific well-pleaded factual allegation elsewhere in this Answer. To the extent that a

further response is required, USAP denies Paragraph 248.

       249.    USAP admits the first sentence of Paragraph 249. Otherwise, Paragraph 249’s

generalizations regarding unidentified hospitals and anesthesiology practices are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer.

       250.    Paragraph 250 sets forth legal conclusions to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 250.

       251.    Paragraph 251 alleges a legal conclusion to which no response is required.

Further, its allegations regarding unidentified industry participants are vague and ambiguous. To

the extent that a further response is required, USAP denies Paragraph 251.

       252.    Paragraph 252 alleges a legal conclusion to which no response is required.

Further, its allegations regarding unidentified evidence are vague and ambiguous. To the extent

that a further response is required, USAP denies Paragraph 252.




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               3.     A relevant geographic market is no broader than the Austin
                      metropolitan statistical area

       253.    Paragraph 253 alleges a legal conclusion to which no response is required. To the

extent that a further response is required, USAP denies Paragraph 253.

       254.    Subject to the qualification that the MSA is more formally called “Austin-Round

Rock, TX MSA,” USAP admits Paragraph 254.

       255.    Paragraph 255’s generalizations regarding patients’ activities are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer. To the extent that a further response is required, USAP

admits that anesthesia practices compete for hospital contracts in the Austin-Round Rock, TX

MSA but otherwise denies Paragraph 255.

       256.    Paragraph 256’s generalizations regarding unidentified hospitals and

anesthesiology practices are vague, and USAP therefore denies them except to the extent that it

admits a specific well-pleaded factual allegation elsewhere in this Answer. To the extent that a

further response is required, USAP denies Paragraph 256.

       257.    USAP admits the first sentence of Paragraph 257. Otherwise, Paragraph 257’s

generalizations regarding unidentified hospitals and anesthesiology practices are vague, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer.

       258.    Paragraph 258 sets forth legal conclusions to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 258.

       259.    Paragraph 259 alleges a legal conclusion to which no response is required.

Further, its allegations regarding unidentified industry participants are vague and ambiguous. To

the extent that a further response is required, USAP denies Paragraph 259.



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       260.    Paragraph 260 alleges a legal conclusion to which no response is required.

Further, its allegations regarding unidentified evidence are vague and ambiguous. To the extent

that a further response is required, USAP denies Paragraph 260.

VIII. MARKET POWER AND MONOPOLY POWER

       A.      USAP has monopoly power in the Houston MSA

               1.     USAP and Welsh Carson’s roll-up of anesthesia practices has
                      substantially increased concentration, resulting in a dominant market
                      share in Houston

       261.    Paragraph 261’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. Moreover, Paragraph 261’s

allegations regarding Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s

claims against it. To the extent that any further response is required, USAP denies

Paragraph 261.

       262.    Paragraph 262’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 262.

       263.    Paragraph 263’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 263.

       264.    Paragraph 264’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. USAP also lacks sufficient

information to admit or deny Paragraph 264’s vague allegations regarding insurers’ unidentified

ordinary course document. To the extent that any further response is required, USAP denies

Paragraph 264.




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       265.    Paragraph 265’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 265.

       266.    Paragraph 266’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 266.

               2.       USAP has demonstrated its ability to increase prices while retaining
                        and increasing its market share in Houston

       267.    Paragraph 267 is predicated on an undefined methodology to assess practice

group size that USAP lacks sufficient information to admit or deny. Paragraph 267’s allegations

assume a finding that the antitrust product market the FTC has pleaded is well defined – a

conclusion that USAP denies. To the extent that any further response is required, USAP denies

Paragraph 267.

       268.    USAP denies Paragraph 268 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. Paragraph 268’s allegations regarding USAP’s reimbursement

rates, quality, and changes to these over time are vague and ambiguous. Moreover, USAP lacks

sufficient information to admit or deny Paragraph 268’s allegations comparing USAP’s

reimbursement rate to other, unidentified providers of anesthesia services. USAP therefore

denies Paragraph 268.

       269.    USAP lacks sufficient information to admit or deny Paragraph 269’s vague and

ambiguous allegations comparing USAP’s reimbursement rates, case volume, and share of

anesthesia costs to other, unidentified alternatives, and on that basis denies Paragraph 269.




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       270.    USAP lacks sufficient information to admit or deny the accuracy of the language

quoted in the last sentence of Paragraph 270. USAP otherwise denies Paragraph 270.

       271.    Paragraph 271’s first sentence sets forth legal conclusions to which no response is

required. USAP admits the second and third sentences of Paragraph 271.

               3.     USAP’s high share of the hospital-only anesthesia market relative to
                      its rivals reinforces its monopoly power in Houston

       272.    Paragraph 272 is predicated on an undefined methodology to assess practice

group case volume and revenue that USAP lacks sufficient information to admit or deny.

Paragraph 272’s allegations assume a finding that the antitrust product market the FTC has

pleaded is well defined – a conclusion that USAP denies. Moreover, USAP lacks sufficient

information to admit or deny Paragraph 272’s allegations comparing USAP’s number of cases

and revenues to other providers of anesthesia services. USAP therefore denies Paragraph 272.

       273.    Paragraph 273 is predicated on an undefined methodology to assess provider

group size that USAP lacks sufficient information to admit or deny. Paragraph 273 sets forth a

legal conclusion to which no response is required. To the extent that a further response is

required, USAP denies Paragraph 273.

       B.      USAP has monopoly power in the Dallas MSA

               1.     USAP and Welsh Carson’s roll-up of anesthesia practices has
                      substantially increased concentration, resulting in a dominant market
                      share

       274.    Paragraph 274’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. Moreover, Paragraph 274’s

allegations regarding Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s

claims against it. To the extent that any further response is required, USAP denies

Paragraph 274.



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       275.    Paragraph 275’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 275.

       276.    Paragraph 276’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 276.

       277.    Paragraph 277’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. USAP also lacks sufficient

information to admit or deny Paragraph 277’s vague allegations regarding insurers’ unidentified

ordinary course document. To the extent that any further response is required, USAP denies

Paragraph 277.

       278.    Paragraph 278’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. Moreover, USAP lacks

sufficient information to admit or deny Paragraph 278’s allegations comparing USAP’s number

of cases and revenues to other providers of anesthesia services. To the extent that any further

response is required, USAP denies Paragraph 278.

               2.     USAP has demonstrated its ability to increase prices while retaining
                      and increasing its market share in Dallas

       279.    Paragraph 279 is predicated on an undefined methodology to assess practice

group case volume and revenue that USAP lacks sufficient information to admit or deny.

Paragraph 279’s allegations assume a finding that the antitrust product market the FTC has

pleaded is well defined – a conclusion that USAP denies. USAP also lacks sufficient

information to admit or deny Paragraph 279’s allegations comparing the reimbursement rates of




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one Dallas anesthesia group to one or more unidentified anesthesia groups. To the extent that

any further response is required, USAP denies Paragraph 279.

       280.    USAP denies Paragraph 280 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. Paragraph 280’s allegations regarding USAP’s reimbursement

rates, quality, and changes to these over time are vague and ambiguous. Moreover, USAP lacks

sufficient information to admit or deny Paragraph 280’s allegations comparing USAP’s

reimbursement rate to other, unidentified providers of anesthesia services. USAP therefore

denies Paragraph 280.

       281.    USAP lacks sufficient information to admit or deny Paragraph 281’s vague and

ambiguous allegations comparing USAP’s reimbursement rates, case volume, and share of

anesthesia costs to other, unidentified alternatives, and on that basis denies Paragraph 281.

       282.    Paragraph 282’s allegations regarding unidentified high-volume hospitals are

vague and ambiguous. Accordingly, USAP denies Paragraph 282.

       283.    Paragraph 283’s first sentence sets forth legal conclusions to which no response is

required. The final two sentences of Paragraph 283 are vague and ambiguous, and USAP

therefore denies them.

               3.        USAP’s high share of the hospital-only anesthesia market relative to
                         its rivals reinforces its monopoly power in Dallas

       284.    Paragraph 284 is predicated on an undefined methodology to assess practice

group case volume and revenue that USAP lacks sufficient information to admit or deny.

Paragraph 284’s allegations assume a finding that the antitrust product market the FTC has

pleaded is well defined – a conclusion that USAP denies. Moreover, USAP lacks sufficient

information to admit or deny Paragraph 284’s allegations comparing USAP’s number of cases



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and revenues to other providers of anesthesia services. To the extent that any further response is

required, USAP denies Paragraph 284.

       285.    Paragraph 285 is predicated on an undefined methodology to assess practice

group case volume and revenue that USAP lacks sufficient information to admit or deny.

Paragraph 285’s allegations assume a finding that the antitrust product market that the FTC has

pleaded is well defined – a conclusion that USAP denies. Paragraph 285 sets forth a legal

conclusion to which no response is required. To the extent that a further response is required,

USAP denies Paragraph 285.

       C.      USAP has a dominant position in the commercially insured hospital-only
               anesthesia market in Austin

               1.     USAP and Welsh Carson’s roll-up of anesthesia providers has
                      substantially increased concentration, resulting in a dominant market
                      share

       286.    Paragraph 286’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. Moreover, Paragraph 286’s

allegations regarding Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s

claims against it. To the extent that any further response is required, USAP denies

Paragraph 286.

       287.    Paragraph 287’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 287.

       288.    Paragraph 288’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. To the extent that any further

response is required, USAP denies Paragraph 288.




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       289.    Paragraph 289’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. USAP also lacks sufficient

information to admit or deny Paragraph 289’s vague allegations regarding insurers’ unidentified

ordinary course document. To the extent that any further response is required, USAP denies

Paragraph 289.

       290.    Paragraph 290’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. Moreover, USAP lacks

sufficient information to admit or deny Paragraph 290’s allegations comparing USAP’s number

of cases and revenues to other providers of anesthesia services. To the extent that any further

response is required, USAP denies Paragraph 290.

               2.      USAP has demonstrated its ability to increase prices while retaining
                       and increasing its market share in Austin

       291.    USAP lacks sufficient information to admit or deny Paragraph 291’s vague and

ambiguous allegations comparing USAP’s reimbursement rates, case volume, and share of

anesthesia costs to other, unidentified alternatives, and on that basis denies Paragraph 291.

       292.    USAP lacks sufficient information to admit or deny Paragraph 292’s vague and

ambiguous allegations regarding pricing and incremental revenues, and on that basis denies

Paragraph 292.

       293.    USAP denies Paragraph 293 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. Paragraph 293’s allegations regarding unidentified high-volume

hospitals are also vague and ambiguous. Accordingly, USAP denies Paragraph 293.




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       294.    Paragraph 294’s first sentence sets forth legal conclusions to which no response is

required. The final two sentences of Paragraph 294 are vague and ambiguous, and USAP

therefore denies them.

               3.        USAP’s high share of the hospital-only anesthesia market relative to
                         its rivals reinforces its dominance in Austin

       295.    Paragraph 295 is predicated on an undefined methodology to assess practice

group case volume and revenue that USAP lacks sufficient information to admit or deny.

Paragraph 295’s allegations assume a finding that the antitrust product market the FTC has

pleaded is well defined – a conclusion that USAP denies. Moreover, USAP lacks sufficient

information to admit or deny Paragraph 295’s allegations comparing USAP’s number of cases

and revenues to other providers of anesthesia services. To the extent that any further response is

required, USAP denies Paragraph 295.

       296.    Paragraph 296 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 296.

       D.      High barriers to entry to the hospital-only anesthesia markets in Houston,
               Dallas, and Austin protect USAP’s market share

       297.    Paragraph 297’s first sentence sets forth legal conclusions to which no response is

required. Paragraph 297’s last two sentences are vague, conclusory, and argumentative, and

USAP therefore denies them except to the extent that it admits a specific well-pleaded factual

allegation elsewhere in this Answer.

       298.    USAP denies Paragraph 298 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP admits that providing anesthesia services in any setting

requires extensive training and experience, and denies Paragraph 298’s first sentence to the




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extent that it does not fully capture that training and experience. Paragraph 298’s second

sentence sets forth legal conclusions to which no response is required.

       299.    USAP admits that Paragraph 299’s vague generalizations can be true in some

circumstances, but denies that those generalizations apply always and uniformly to each and

every marketplace participant. USAP further denies Paragraph 299 to the extent that it is

predicated on an undefined methodology for calculating and comparing reimbursement rates that

USAP lacks sufficient information to admit or deny.

       300.    Paragraph 300’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. USAP otherwise denies

Paragraph 300.

       301.    Paragraph 301 sets forth legal conclusions to which no response is required.

USAP otherwise denies Paragraph 301.

       302.    Paragraph 302 sets forth legal conclusions to which no response is required.

USAP otherwise denies Paragraph 302.

       303.    Paragraph 303’s allegations assume a finding that the antitrust product market the

FTC has pleaded is well defined – a conclusion that USAP denies. USAP otherwise denies

Paragraph 303.

IX.    USAP’S DOMINANCE IN TEXAS

       304.    Paragraph 304 is predicated on an undefined methodology to assess costs,

revenue, and case volume that USAP lacks sufficient information to admit or deny.

Paragraph 304’s allegations assume a finding that the antitrust product market the FTC has

pleaded is well defined – a conclusion that USAP denies. USAP otherwise denies

Paragraph 304.




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       305.    Paragraph 305 sets forth legal conclusions to which no response is required.

USAP otherwise denies Paragraph 305.

       306.    Paragraph 306 sets forth legal conclusions to which no response is required.

USAP further denies Paragraph 306 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. Paragraph 306’s final sentence assumes a finding that the antitrust

product market the FTC has pleaded is well defined – a conclusion that USAP denies. USAP

otherwise denies Paragraph 306.

       307.    Paragraph 307 sets forth legal conclusions to which no response is required.

USAP otherwise denies Paragraph 307.

       308.    Paragraph 308 sets forth legal conclusions to which no response is required. To

the extent Paragraph 308 purports to characterize USAP’s “planning documents,” USAP

contends that those documents speak for themselves. USAP otherwise denies Paragraph 308.

       309.    USAP denies Paragraph 309 to the extent that it is predicated on an undefined

methodology for calculating and comparing reimbursement rates that USAP lacks sufficient

information to admit or deny. USAP lacks knowledge regarding the contents of United’s

internal strategy discussions. USAP otherwise denies Paragraph 309.

       310.    Paragraph 310 is predicated on an undefined methodology to assess practice

group case volume and revenue that USAP lacks sufficient information to admit or deny.

Paragraph 310’s allegations assume a finding that the antitrust product market the FTC has

pleaded is well defined – a conclusion that USAP denies. Paragraph 310 further sets forth legal

conclusions to which no response is required. USAP otherwise denies Paragraph 310.




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X.     HARM TO CONSUMERS AND COMPETITION

       A.      USAP’s conduct has increased its negotiating leverage against insurers,
               reducing insurers’ ability to constrain USAP’s demands to raise prices

       311.    Paragraph 311’s allegations are conclusory and argumentative. USAP admits that

it has obtained exclusive or nearly exclusive contracts with some hospitals in Texas. USAP

otherwise denies Paragraph 311.

       312.    USAP denies Paragraph 312.

       313.    USAP denies Paragraph 313.

       314.    Paragraph 314 is predicated on an undefined methodology to assess insurer size

that USAP lacks sufficient information to admit or deny. USAP lacks knowledge sufficient to

admit or deny whether an unnamed insurance executive made the quoted comment. USAP

otherwise denies Paragraph 314.

       315.    USAP lacks knowledge sufficient to admit or deny whether an unnamed Welsh

Carson analyst made the quoted comment. USAP otherwise denies Paragraph 315.

       316.    Paragraph 316 is predicated on an undefined methodology to assess insurer size

that USAP lacks sufficient information to admit or deny. USAP admits that United sought to

unilaterally amend the United-USAP contract to reduce USAP’s rates and that USAP terminated

its contract with United in 2020. USAP otherwise denies Paragraph 316.

       317.    USAP admits that it was out-of-network with United in Texas for part of 2020

and 2021 after United attempted to unilaterally amend the parties’ agreement. USAP also admits

that it filed suit against United in Texas state court and that USAP lost business as a result of

United’s pressure campaign against USAP. USAP otherwise denies Paragraph 317.

       318.    USAP admits that United and USAP settled their legal disputes and entered into a

new contract in September 2021 (effective October 2021), under which USAP’s rates decreased.



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The terms of the settlement and the contract speak for themselves. USAP otherwise denies

Paragraph 318, including to the extent that it is predicated on an undefined methodology for

calculating and comparing reimbursement rates that USAP lacks sufficient information to admit

or deny.

       B.      USAP’s conduct has increased prices for hospital-only anesthesia services in
               Texas

       319.    USAP lacks knowledge sufficient information to admit or deny whether an

unnamed United executive made the quoted comment. USAP otherwise denies Paragraph 319.

       320.    USAP lacks sufficient information to admit or deny Paragraph 320’s unsourced

rate comparison, and therefore denies Paragraph 320.

       321.    USAP lacks sufficient information to admit or deny Paragraph 321’s unsourced

rate comparison, and therefore denies Paragraph 321.

       322.    USAP lacks sufficient information to admit or deny Paragraph 322’s unsourced

rate comparison, and therefore denies Paragraph 322.

       323.    Paragraph 323 is predicated on an undefined methodology to assess provider

group size that USAP lacks sufficient information to admit or deny. USAP also lacks sufficient

information to admit or deny Paragraph 323’s comparison of USAP’s rates to a purported

median of an unidentified set of anesthesia providers, USAP therefore denies Paragraph 323.

       324.    Paragraph 324 is predicated on an undefined methodology to assess insurer size

that USAP lacks sufficient information to admit or deny. USAP denies Paragraph 324, including

its allegation that USAP’s ability to obtain payment of higher rates from payors necessarily

corresponds with higher burdens for Texas businesses and their employees, as opposed to lower

profits for the payors.




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       325.    Paragraph 325 is predicated on an undefined methodology to assess insurer size

that USAP lacks sufficient information to admit or deny. USAP lacks sufficient information to

admit or deny Paragraph 325’s allegations regarding the negotiations between other Texas

anesthesia practices and payors, and therefore denies Paragraph 325.

       326.    USAP denies Paragraph 326, including to the extent that it is predicated on an

undefined methodology for calculating and comparing reimbursement rates that USAP lacks

sufficient information to admit or deny.

       327.    USAP denies Paragraph 327.

       C.      There are no valid procompetitive justifications for or efficiencies from
               USAP’s conduct

       328.    Paragraph 328 sets forth legal conclusions to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 328.

       329.    Paragraph 329’s allegations are vague, conclusory, and argumentative, and USAP

therefore denies them except to the extent that it admits a specific well-pleaded factual allegation

elsewhere in this Answer.

       330.    The first sentence of Paragraph 330 sets forth a legal conclusion to which no

response is required, and the second sentence is vague and speculative. To the extent that a

further response is required, USAP denies Paragraph 330.

       331.    The first two sentences of Paragraph 331 set forth legal conclusions to which no

response is required. USAP admits that evidence produced in the FTC’s investigation of this

matter includes the quoted language in the third sentence, respectfully directs the Court to that

evidence for an accurate and complete statement of its contents, and otherwise denies

Paragraph 331.




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       332.    The first sentence of Paragraph 332 sets forth legal conclusions to which no

response is required. The second sentence’s allegations are vague, conclusory, and

argumentative. To the extent that a further response is required, USAP denies Paragraph 332.

XI.    LIKELIHOOD OF RECURRENCE

       A.      Without appropriate relief, USAP’s harmful conduct is likely to recur

       333.    Paragraph 333 sets forth legal conclusions to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 333.

       334.    Paragraph 334 sets forth legal conclusions to which no response is required.

Further, Paragraph 334’s allegations regarding Welsh Carson are irrelevant in light of the Court’s

dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

denies Paragraph 334.

       335.    Paragraph 335 sets forth legal conclusions to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 335.

       B.      Without appropriate relief, Welsh Carson’s harmful conduct is likely to
               recur

       336.    Paragraph 336 sets forth legal conclusions to which no response is required.

Further, Paragraph 336’s allegations regarding Welsh Carson are irrelevant in light of the Court’s

dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

denies Paragraph 336.

       337.    Paragraph 337 sets forth legal conclusions to which no response is required.

Further, Paragraph 337’s allegations regarding Welsh Carson are irrelevant in light of the Court’s

dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

denies Paragraph 337.




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       338.    Paragraph 338 sets forth legal conclusions to which no response is required.

Further, Paragraph 338’s allegations regarding Welsh Carson are irrelevant in light of the Court’s

dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

denies Paragraph 338.

       339.    Paragraph 339 is predicated on an undefined methodology to assess radiology

group size that USAP lacks sufficient information to admit or deny. Paragraph 339 sets forth

legal conclusions to which no response is required. Further, Paragraph 339’s allegations

regarding Welsh Carson are irrelevant in light of the Court’s dismissal of the FTC’s claims

against it. To the extent that a further response is required, USAP denies Paragraph 339.

XII.   VIOLATIONS

                                            COUNT I

 Monopolization of Houston Hospital-Only Anesthesia Market Arising Under Section 2 of
                                  the Sherman Act

       340.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       341.    Paragraph 341 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 341.

       342.    Paragraph 342 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 342.

       343.    USAP admits that a USAP entity entered into an agreement with Greater Houston

Anesthesiology, respectfully directs the Court to that agreement for an accurate and complete

statement of its contracts, and otherwise denies Paragraph 343’s characterization of that

agreement. USAP otherwise admits Paragraph 343.




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       344.     USAP admits that it maintained agreements with the anesthesiologists identified

in Paragraph 344, but USAP contends that those agreements speak for themselves, and denies

Paragraph 344 to the extent that it mischaracterizes them.

       345.     Paragraph 345 sets forth a legal conclusion to which no response is required.

Further, Paragraph 345 is irrelevant in light of the Court’s dismissal of the FTC’s claims against

Welsh Carson.

       346.     Paragraph 346 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 346.

       347.     Paragraph 347 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 347.

                                            COUNT II

   Roll-up of Houston Hospital-Only Anesthesia Market in Violation of Section 7 of the
                       Clayton Act and Section 5 of the FTC Act

       348.     USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       349.     Paragraph 349 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 349’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 349.

       350.     Paragraph 350 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 350.

       351.     Paragraph 351 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 351. Moreover,

Paragraph 351’s allegations regarding Welsh Carson are irrelevant in light of the Court’s



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dismissal of the FTC’s claims against it. To the extent that a further response is required, USAP

denies Paragraph 351.

       352.    Paragraph 352 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 352.

       353.    Paragraph 353 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 353.

       354.    Paragraph 354 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 354.

                                           COUNT III

   Conspiracy to Monopolize Houston Hospital-Only Anesthesia Market Arising Under
                            Section 2 of the Sherman Act

       355.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       356.    Paragraph 356 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 356.

       357.    Paragraph 357 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 357’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 357.

       358.    Paragraph 358 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 358’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 358.




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       359.    Paragraph 359 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 359’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 359.

       360.    Paragraph 360 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 360’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 360.

       361.    Paragraph 361 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 361’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 361.

       362.    Paragraph 362 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 362’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 362.

       363.    Paragraph 363 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 363’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 363.




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                                           COUNT IV

Monopolization of Dallas Hospital-Only Anesthesia Market Arising Under Section 2 of the
                                     Sherman Act

       364.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       365.    Paragraph 365 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 365.

       366.    Paragraph 366 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 366’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 366.

       367.    USAP admits Paragraph 367.

       368.    USAP admits that it maintained agreements with the entity identified in

Paragraph 368, but USAP contends that those agreements speak for themselves, and denies

Paragraph 368 to the extent that it mischaracterizes them.

       369.    Paragraph 369 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 369.

       370.    Paragraph 370 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 370’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 370.

       371.    Paragraph 371 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 371.




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       372.    Paragraph 372 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 372’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 372.

                                            COUNT V

Roll-up of Dallas Hospital-Only Anesthesia Market in Violation of Section 7 of the Clayton
                            Act and Section 5 of the FTC Act

       373.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       374.    USAP admits that between 2015 and 2016, it entered into the agreements

identified in Paragraph 374. Paragraph 374’s allegations regarding Welsh Carson are irrelevant

in light of the Court’s dismissal of the FTC’s claims against it. USAP denies Paragraph 374 to

the extent that it mischaracterizes the agreements or sets forth a legal conclusion.

       375.    Paragraph 375 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 375.

       376.    Paragraph 376 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 376’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 376.

       377.    Paragraph 377 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 377’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 377.




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       378.    Paragraph 378 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 378’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 378.

       379.    Paragraph 379 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 379’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 379.

                                           COUNT VI

Conspiracy to Monopolize Dallas Hospital-Only Anesthesia Market Arising Under Section
                                2 of the Sherman Act

       380.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       381.    Paragraph 381 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 381.

       382.    Paragraph 382 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 382’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 382.

       383.    Paragraph 383 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 383’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 383.




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       384.    Paragraph 384 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 384’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 384.

       385.    Paragraph 385 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 385’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 385.

       386.    Paragraph 386 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 386’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 386.

       387.    Paragraph 387 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 387’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 387.

       388.    Paragraph 388 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 388’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 388.




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                                           COUNT VII

Roll-up of Austin Hospital-Only Anesthesia Market in Violation of Section 7 of the Clayton
                            Act and Section 5 of the FTC Act

       389.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       390.    USAP admits that in 2013 and 2018, respectively, it entered into the two

agreements identified in Paragraph 390. Paragraph 390’s allegations regarding Welsh Carson

are irrelevant in light of the Court’s dismissal of the FTC’s claims against it. USAP denies

Paragraph 390 to the extent that it mischaracterizes the agreements or sets forth a legal

conclusion.

       391.    Paragraph 391 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 391.

       392.    Paragraph 392 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 392’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 392.

       393.    Paragraph 393 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 393’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 393.

       394.    Paragraph 394 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 394’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 394.



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       395.    Paragraph 395 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 395’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 395.

                                          COUNT VIII

 Scheme to Reduce Anesthesia Competition in Texas in Violation of Section 5 of the FTC
                                        Act

       396.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       397.    Paragraph 397 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 397’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 397.

       398.    Paragraph 398 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 398’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 398.

       399.    Paragraph 399 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 399’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 399.

       400.    Paragraph 400 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 400’s allegations regarding Welsh Carson are irrelevant in light of the




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Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 400.

       401.    Paragraph 401 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 401.

       402.    Paragraph 402 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 402’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 402.

                                           COUNT IX

Horizontal Agreements to Bill at a Fixed Price Arising under Section 1 of the Sherman Act

       403.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

       404.    Paragraph 404 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 404.

       405.    USAP admits that it maintained agreements with the entities identified in

Paragraph 405, but USAP contends that those agreements speak for themselves, and denies

Paragraph 405 to the extent that it mischaracterizes them.

       406.    Paragraph 406 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 406.

       407.    Paragraph 407 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 407.




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                                               COUNT X

    Horizontal Agreement to Divide Market Arising under Section 1 of the Sherman Act

        408.    USAP incorporates by reference its answers to the allegations in Paragraphs 1-

339.

        409.    Paragraph 409 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 409.

        410.    Paragraph 410 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 410.

        411.    Paragraph 411 sets forth a legal conclusion to which no response is required.

Moreover, Paragraph 411’s allegations regarding Welsh Carson are irrelevant in light of the

Court’s dismissal of the FTC’s claims against it. To the extent that a further response is

required, USAP denies Paragraph 411.

        412.    Paragraph 412 sets forth a legal conclusion to which no response is required. To

the extent that a further response is required, USAP denies Paragraph 412.

XIII. PRAYER FOR RELIEF

        The FTC’s request for relief, as set forth in Paragraphs 413-416, does not contain factual

allegations to which any response is required. To the extent that a further response is required,

USAP denies the allegations and requests for relief of these Paragraphs and denies that the FTC

has stated a claim for relief or is entitled to any relief.

                           AFFIRMATIVE AND OTHER DEFENSES

        Without assuming any burden of proof that it would not otherwise bear, USAP reasserts,

without limitation, all defenses raised in its Motion To Dismiss, Welsh Carson’s Motion To

Dismiss, and the Defendants’ other filings, whether or not separately re-pleaded herein. USAP

further asserts the affirmative and other defenses listed below. In listing the defenses below,


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USAP does not knowingly or intentionally waive any defenses, including arguments about which

issues fall within the FTC’s burden of proof. USAP also reserves the right to rely on any

affirmative or other defense or claim that may subsequently come to light, and expressly reserves

the right to amend its Answer to assert such additional defenses or claims.

                                FIRST AFFIRMATIVE DEFENSE

       The FTC lacks statutory authority under 15 U.S.C. § 53(b) to challenge either completed

acquisitions or agreements no longer in effect.

                              SECOND AFFIRMATIVE DEFENSE

       The FTC cannot proceed because it purports to exercise executive authority in violation

of Article II of the United States Constitution.

                                THIRD AFFIRMATIVE DEFENSE

       The FTC’s claim that acquisitions and agreements that are the subject of the FTC’s

Complaint – independently or in the aggregate – violated the antitrust laws and the FTC Act fails

because there were procompetitive justifications for the challenged conduct.

                              FOURTH AFFIRMATIVE DEFENSE

       The FTC is not entitled to the relief it seeks because USAP has always faced competition

in any properly defined market.

                                FIFTH AFFIRMATIVE DEFENSE

       The FTC is not entitled to the relief it seeks because any assets that USAP acquired no

longer separately exist, and USAP is a unitary company.

                                SIXTH AFFIRMATIVE DEFENSE

       The FTC cannot obtain relief under Section 5 of the FTC Act that is not authorized under

Section 2 of the Sherman Act.




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                            SEVENTH AFFIRMATIVE DEFENSE

       The relief sought by the FTC is inequitable and contrary to the public interest under 15

U.S.C. § 45.

Dated: June 17, 2024                            Respectfully submitted,

                                                /s/ Mark C. Hansen
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2024, I filed the foregoing document with the Court and

served it on opposing counsel through the Court’s CM/ECF system. All counsel of record are

registered ECF users.


                                               Respectfully submitted,

                                               /s/ Mark C. Hansen
                                               Mark C. Hansen
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                                   Summary report:
           Litera Compare for Word 11.7.0.54 Document comparison done on
                                 6/19/2025 9:54:44 PM
      Style name: Default Style
      Intelligent Table Comparison: Active
      Original filename: Old.docx
      Modified filename: USAP's Proposed Amended Answer to FTC Complaint -
      CLEAN.docx
      Changes:
      Add                                                     4
      Delete                                                  2
      Move From                                               0
      Move To                                                 0
      Table Insert                                            0
      Table Delete                                            0
      Table moves to                                          0
      Table moves from                                        0
      Embedded Graphics (Visio, ChemDraw, Images etc.)        0
      Embedded Excel                                          0
      Format changes                                          0
      Total Changes:                                          6
